Case 17-04113-DSC7   Doc 72    Filed 11/30/17 Entered 11/30/17 16:36:25   Desc Main
                              Document     Page 1 of 5
Case 17-04113-DSC7   Doc 72    Filed 11/30/17 Entered 11/30/17 16:36:25   Desc Main
                              Document     Page 2 of 5
Case 17-04113-DSC7   Doc 72    Filed 11/30/17 Entered 11/30/17 16:36:25   Desc Main
                              Document     Page 3 of 5
Case 17-04113-DSC7   Doc 72    Filed 11/30/17 Entered 11/30/17 16:36:25   Desc Main
                              Document     Page 4 of 5
Case 17-04113-DSC7   Doc 72    Filed 11/30/17 Entered 11/30/17 16:36:25   Desc Main
                              Document     Page 5 of 5
